









NUMBER 13-02-459-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI






CAROL JOYCE TURK, Appellant,


v.



JAMES WILLIAM TURK, Appellee.





On appeal from the 25th District Court


of Gonzales County, Texas.






O P I N I O N



Before Justices Dorsey, Rodriguez, and Castillo


Opinion Per Curiam



Appellant, CAROL JOYCE TURK, perfected an appeal from a judgment entered by the 25th District Court of
Gonzales County, Texas, in cause number 20,569.  No clerk's record has been filed due to appellant's failure to
pay or make arrangements to pay the clerk's fee for preparing the clerk's record.  

If the trial court clerk fails to file the clerk's record because the appellant failed to pay or make arrangements to
pay the clerk's fee for preparing the clerk's record, the appellate court may dismiss the appeal for want of
prosecution unless the appellant was entitled to proceed without payment of costs.  Tex. R. App. P. 37.3(b).

On August 28, 2002, notice was given to all parties that this appeal was subject to dismissal pursuant to Tex. R.
App. P. 37.3(b).  Appellant was given ten days to explain why the cause should not be dismissed.  To date, no
response has been received from appellant. 

The Court, having examined and fully considered the documents on file, appellant's failure to pay or make
arrangements to pay the clerk's fee for preparing the clerk's record,  this Court's notice, and appellant's failure to
respond, is of the opinion that the appeal should be dismissed for want of prosecution. The appeal is hereby
DISMISSED FOR WANT OF PROSECUTION.

PER CURIAM


Do not publish.

Tex. R. App. P. 47.3.


Opinion delivered and filed

this the 3rd day of October, 2002.



